         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                  _____________________________

                         No. 1D2024-0312
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JOE HUNTER IV,

    Petitioner,

    v.

STATE OF FLORIDA,

    Respondent.
                  _____________________________


Petition for Writ of Prohibition—Original Jurisdiction.


                         August 27, 2024


PER CURIAM.

    DISMISSED.

LEWIS, B.L. THOMAS, and WINOKUR, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Joe Hunter IV, pro se, Petitioner.
Ashley Moody, Attorney General, Tallahassee, for Respondent.




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